                    DECLARATION OF DIANE M. RAY

      I, Diane M. Ray, do upon personal knowledge declare as follows:

      1. That I am currently employed as an Administrative Records
Specialist for the U.S. Fish and Wildlife Service, Region 7, Anchorage
Alaska.

     2. That in the course of my employment, I keep and maintain
administrative records for the Federal Subsistence Board.

     3. that at the request of the Department of Justice, I have reviewed
BoaRl documents relating to the Maknahti Island withdrawal.

      4. That review authenticates the following documents are true copies of
constituent parts of the Maknahti decision, 71 Federal Register 49997 99 -




(August 24, 2006), record:

            • "Materials in Support of Proposals 25 and 37 and a
            recommendation for extension, of the Federal subsistence priori ty
            to marine waters within the Tongass National Forest" (excerpts
            attached as Attachment A);

            • 'Identification of Marine Waters Subject to Federal Subsistence
            Management...", dated April 26, 2006 (attached as Attachment B);

             • "Federally Owned Submerged Lands in Southeast Alaska",
             dated November 9, 2005 (attached as Attachment C).

      I declare under penalty of perjury under the laws of the United States of
American that the foregoing is true and correct, as provided under 28 U.S.C. §
1746.

      Executed this 27 day of April, 2010.




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         Southeast Regional Advisory Council
         Yakutat, Alaska October 15 —19, 2001
                               ,




         Materials in Support of Proposals 25
         and 37 and a recommendation for
         extension of the federal subsistence
         priority to marine waters within the
         Tongass National Forest




        Submitted by John Littlefield and Sitka Tribe of
        Alaska

ATTACHMENT




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                           "*";Irr.7977"' , ::n'11sTSITMfF'.
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              October 5, 2001

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             Request for assistance from BLM and compilation
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             federal ownership of certain areas within Sitka
             Sound, including the Maknahti Islands dated           .




             August 13, 2001

             Compilation of presidential proclamations and
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             the Tongass National Forest beginning August 20,
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             Diagramatic map of Tongass National Forest
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             Executive Orders 1458 and 1459 and diagams
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             Brief of the United States filed to the U.S.
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Chairman Bill and Council Members,

I want to bring you up to date on discussions that I have been having
with Fred and OSM staff.

The discussions centered around the decision of the FSB to withdraw
my proposals 25 and 37 from the Yakutat meeting. You all should
have copies of these proposals and you can refer to them if needed.

First, leaving the content of the proposals aside. I believe the FSB
jumped into this before their proper time.

Proposals are submitted to the RAC and by law [ANILCA §805(a)(3)
(A)] the RAC has the authority to "the review and evaluation of
proposals for regulations, policies. . . ." The RAC also has the
authority to provide a "forum for the expression of opinions and
recommendations by persons interested in any matter related to the
subsistence uses of fish and wildlife within the region." [ANILCA
§805(a)(3)(B)]. The RAC has both the authority and the
responsibility for the "encouragement of local and regional
participation. . . in the decision making process affecting the taking of
fish and wildlife. . . ." [ANILCA §805(a)(3)C)}

After RAC action, then approved proposals are forwarded to the
FSB for their action. The FSB (Secretary) can choose not to follow
the RAC's recommendations [ANILCA §805 (c)] only if they are "not
supported by substantial evidence, violate recognized principles of
fish and wildlife conservation, or would be detrimental to the
satisfaction of subsistence needs."

That's what the law (ANILCA) states!

In my case the FSB, by facsimile 9/13/01, notified me they were
withdrawing my proposals because the current regulations [36 CFR
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242.3 (b)(28)] exclude the marine waters inside the external
boundaries of the Tongass.

I contend this violates the proper procedure for consideration of
proposals. My proposals 25 and 37 fit squarely within the authority
given to the RAC by ANILCA under 5805(a)(3)(A), (B) & (C). To
the extent that my proposals conflict with the current regulations, my
proposals are .within the RAC's authority to change the current
regulations. To the extent that my proposals are in conflict with the
policy and opinion of the FSB, my proposals are an expression of a
dissenting opinion and policy which the RAC has the authority and
duty to hear. To the extent that my proposals are discouraged by the
                                          .




established decision making process, my proposals are consistent
with the RAC's responsibility to encourage local and regional
participation in that decision making process:

At this point in time, the RAC is the proper body to determine .
whether these proposals should pass, be amended, or defeated. If
and when the RAC adopts my proposals, then the FSB may decide to
reject the RAC's recommendations that run afoul of the standards set
out under ANILCA in 5805(c). But if the action by the. FSB to
remove my proposals is allowed to stand, the FSB will have
effectively usurped the responsibility and authority that lies with the
RAC for the original consideration of proposals.
                                      .




Furthermore, the role of the staff has become confused and tangled
in this process. The staff (if it is their opinion) should state they were
opposed to the proposals based upon their interpretation of the
regulations and leave it up to the policy body (the RAC) to determine
what action was needed. Interestingly enough, staff
recommendations on the Sitka Tribe of Alaska (STA) proposals and
some others, do just that. Specifically, they quoted all the regulations
and then opposed the passage of the proposal based on no
jurisdiction. They should have used the same procedure for my
withdrawn proposals. Why didn't they do that?


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I think it is for purely political reasons that these proposals were
withdrawn. I've relayed these concerns to Fred, Bill Knauer, and
Tom Boyd. My request to each of them wasto reinstate these
                                               .




proposals and do the staff analysis as they would with any other
proposal. The final decision today from Tom was that they would not
be reinstated because they have no jurisdiction.

I am under great pressure from the people of Sitka to do something
to protect our herring egg subsistence fishery. As I'm sure most of
you are aware, this year was the worst in memory for Sitka herring
egg subsistence users and the second best season ever for the
Commercial herring sac roe fishery. The State continues to give the   .




STA lip service and denies relief because they continue to say there
are lots of herring. Maybe so, but if they catch all the herring in the
local areas, than the subsistence users suffer.

The involvement of the RAC, as a regional body, is critical because
although herring eggs are predominately harvested in Sitka, the     .
resource is shared throtighout Alaska and Canada and the Lower 48.
All of our neighbors shared in the dismal Sitka harvest this year.

Second, concerning the content of my proposal and the substance of
the reason given for their withdrawal by. the FSB: Jurisdiction. The
issue of who has jurisdiction over the marine waters in the Tongas's
(also the Chugach) has been one that the RAC has pursued at least
since the annual report of 1993. The legal briefs requested by the
RAC in the 1999 annual report were not even mentioned in the reply
from the FSB. Where are. they?

It is clear to me that the United States has jurisdiction of the marine
waters of the Tongass. The Tongass includes at least the marine
waters out to 3 miles and I believe the existing regulations don't
comply with the actual language of the law, ANILCA, nor it's intent.

The law of ANILCA and its subsistence priority apply to all lands,
waters and interests therein under §802(1). If the United States either
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owns title to the submerged lands beneath the marine waters of the
Tongass or has reserved less than an ownership interest, as stated in
Katie John, then ANILCA applies to these marine waters. There are at
least three ways that the United States has an interest in the marine
waters of the Tongass:

      1) The original boundaries of the Tongass include the marine
      waters, in some areas up to sixty miles out;
      2) During WWII the United States took specific ownership of
      the submerged lands within a number of areas in Sitka Sound,
      including a withdrawal of the submerged lands and waters
      surrounding the Maknahti Islands which is one of our most
      reliable herring spawning grounds; and
      3) The United States has reserved less than an ownership
      interest in the marine waters of the Tongass.

If it is so clear to the FSB that there is no federal jurisdiction over the
marine waters of the Tongass, then why are the top lawyers for the
United States arguing that there is federal jurisdiction over the marine
waters of the Tongass in pending litigation to the U.S. Supreme
       ,




Court? In a U.S. Supreme Court brief filed April, 2000, the Solicitor
General in Alaska v. United States disputed the Alaska's claim to
ownership of the submerged lands within the Tongass:

      The presidential proclamations and executive order
      creating and enlarging the Tongass National Forest
      correspondingly established its exterior boundary
      seaward of the marine coast line. Upon Alaska's
      admission to the Union, the United States expressly
                    .




      retained title to lands within national forests, subject
      to Alaska's right to select 400,000 acres of those
      lands for the State's use. The United States
      accordingly claims rights and interests in the marine
      submerged lands within the Tongass National
      Forest."


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                                                 t
I want to have time at the meeting in Yakutat to present maps and a
briefing document that identifies the original boundaries of the     •
Tongass and the WWII withdrawals in Sitka Sound for the RAC. I
                        .




intend to make at least one motion to modify the regulations by
deleting the words "and excluding marine waters;" from 242.3 (b) 28.
Hopefully someone will make a second to this motion so we can act
on it.

I would also like to amend the agenda to reinstate proposals 25 and
37 for RAC consideration. The latest (today) proposal listing on the
OSM web page still has all of the proposals I submitted listed. There
should not be a problem with public notice. Everyone opposed or in
favor of these proposals has had adequate time to comment. I've held
one meeting with the STA and Coast Guard specifically about
proposal 25.

I wanted each of you to know about this prior to our teleconference
on the 28th so that you know the background on what's going on
and what I will be addressing.

Thanks for listening.

John Littlefield




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Case 3:92-cv-00734-HRH Document
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I. The Regional Advisory Council (RAC) has a tremendous
     amount of power that comes directly from Congress. An
     important element of this power is that the Secretary and
     Federal Subsistence Board (FSB) are required to give
     deference to the RAC - - - and not the other way around.

     A. The RAC has the following authority and responsibilities
        under the law:

           1. To review and evaluate of proposals for regulations,
              policies, management plans, and other matters relating
              to subsistence uses of fish and wildlife within the
              region. ANILCA 5805(a)(3) (A)

           2. To provide a forum for the expression of opinions and
              recommendations by persons interested in any matter
              related to the subsistence uses of fish and wildlife
              within the region. ANILCA 5805(a)(3)(B)

           3 To encourage local and regional participation in the
              decision making process affecting the taking of fish
              and wildlife on public lands within the region.
              ANILCA §805(a)(3)(C)

           4. To prepare an annual report to the Secretary
              containing, among other information, a recommended
              strategy for fish and wildlife populations within the
              region to accommodate subsistence uses and needs
              and recommendations concerning policies, standards,
              guidelines, and regulations to implement the strategy.
              ANILCA 5805(a)(3)(D)

     B. The term "Secretary" means the Secretary of the Interior,
        except when the term is used with respect to any unit of the
        National Forest System, "Secretary" means the Secretary of
        Agriculture. ANILCA 5102(12)

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C. The Secretary has the responsibility to monitor the
   effectiveness of the implementation of the provisions of the
   law, including closure and other administrative authority to
   protect subsistence uses. ANILCA 5806

D.Both the Secretaries of Interior and Agriculture have
  adopted a regulation that delegates a portion of their
  authority and responsibility to the FSB. 36 C.F.R. 242.10 (a)

E. The Secretary/FSB is required to adopt regulations
   necessary and appropriate to carry out the Secretary's
   responsibilities under the law. ANILCA 5814

F. The Secretary/FSB is required to give deference to
   recommendations made by the RAC and adopt these
   recommendations as regulations unless:

      1. The recommendation is not supported by substantial
         evidence, or

      2. The recommendation violates recognized principles of
         fish and wildlife conservation, or

      3. The recommendation would be detrimental to the
         satisfaction of subsistence needs.
         ANILCA 5805(c)

 G.If the Secretary/FSB does not adopt a recommendation
   made by the RAC, then the Secretary/FSB must set forth a
   factual basis and the reasons for that decision. ANILCA
   5805(c)

 Discussion: The RAC is given extremely broad authority and
 responsibility under the law to consider proposals and make
 recommendations on any matters relating to subsistence uses



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    and needs and the strategy and regulations necessary to
    implement the subsistence program.

    The FSB and the Secretary cannot take away or narrow the
    authority the RAC has received from Congress to consider
    proposals and make recommendations.

    Recommendations from the RAC relating to the Tongass
    National Forest would be forwarded to either the FSB or the
    Secretary of Agriculture.   •

    Both the FSB and the Secretary of Agriculture must give
    deference to and adopt recommendations made by the RAC
    unless the recommendations fail to meet on of the three
    standards outlined above from ANILCA §805(c).


IL The RAC has the power to consider proposals and make
    recommendations regarding jurisdiction and the areas to
    which federal subsistence priority attaches.

     Discussion: The extent and areas to which the federal
     subsistence priority attaches is an essential element of the
     RAC's duty under ANILCA to develop a strategy to implement
     policies, standards, guidelines, and regulations to protect
     subsistence.

     For this reason, the RAC's broad authority and responsibility
     under the law includes the power to consider proposals and
     make recommendations regarding the inclusion of additional
     federal reservations and reserved water rights to which the
     federal subsistence priority attaches.

     ANILCA does not limit the scope of the RAC's authority
     concerning recommendations regarding the inclusion of
     additional federal reservations. Any regulation or policy that

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  limits the RAC's authority in this mariner is inconsistent with       .
  the law of ANILCA.

III. A recommendation by the RAC to amend the
     regulations to extend federal jurisdiction to the marine       .




     waters of the Tongass would be supported by
     substantial evidence.

  A. Current regulations exclude the marine waters of the
     Tongass from federal jurisdiction. 36 C.F.R. 242(b)(28)

  B. ANILCA. extends the subsistence priority to all lands and
     waters in which the United States has an "interest."
     ANILCA §102(1) and §804

   C. The United States has an ownership interest in the
      submerged lands and marine waters surrounding the
      Maknahti Islands in Siticn Sound. Executive Orders 8877
      and 2918

   D. The United States may also have an ownership interest in
      the submerged lands and marine waters surrounding Long
      Island, Cape Burunof, Peisar Island, Legma Island, Shoals
      Point, Cape Edgecumbe, and Beaver Point. Executive
      Order 8877

   E. The United States has an ownership interest in all the
     submerged lands and marine waters within the boundaries
     of the Tongass by presidential proclamations and executive
     orders establishing the Tongass boundary sixty miles
      seaward. Proclamation of September 10, 1907, 35 Stat.
     2152; Executive Order 908 (July 2, 1908); Proclamation
      of February 16, 1909, 35 Stat. 2226; Proclamation of
     June 10, 1925, 44 Stat. 2578.




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 F. The Solicitor General for the United States has argued to
    the U.S. Supreme Court that the submerged lands and
    marine waters within the boundaries of the Tongass are
    owned by the United States. Alaska v. United States, No.
    128 Original, Brief for the United States filed April,
    2000

 G. Even if the United States does not have an ownership
    interest in the submerged lands and marine waters within
    the Tongass, the Ninth Circuit Court of Appeals has
    directed the U.S. Forest Service to identify the extent of its
    "reserved waters." Katie John v. U.S., No. 94-35481

 Discussion: There are at least three separate grounds for the
 RAC to support a recommendation that the marine waters of
 the Tongass are subject to the federal subsistence priority.

 First, at least within Siticn Sound there are a number of areas,
 including the Maknahti Islands, where the submerged lands and
 marine waters are under federal ownership. An ownership
 interest of these lands and waters is more than enough for the
 federal subsistence priority to attach.

 Second, as established by presidential proclamations and
 executive oiders, the United States owns the submerged lands
 and marine waters within the boundaries of the Tongass. In
 some places the boundaries of the Tongass extend up to sixty
 miles seaward. This same point is made by the top lawyers for
 the United States in their arguments to the U.S. Supreme Court.
 As stated above, an ownership interest of these lands and
 waters is more than enough for the federal subsistence priority
 to attach.

 Third, in Katie John the Ninth Circuit Court of Appeals ordered
 the U.S. Forest Service to determine the extent of the reserved
 waters to which the federal subsistence priority attaches.

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Marine waters were reserved in the Tot ngass, if for nothing else,
for the transportation of logs becaUse of the lack of a
connected road system. Although this interest in "reserved
water rights" is less than an ownership interest, it is still enough
for the federal subsistence priority to attach.

If the RAC does decide to amend the regulations to include the
marine waters of the Tongass within federal jurisdiction, the
FSB and the Secretary would be required to adopt this
recommendation because it is supported by substantial
evidence.




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                                             LAW OFFICE OF
                                        MICHAEL JUDE PATE
                                       403 Lincoln Street, P.O. Box 6384
                                              Sitka, Alaska 99835
Phone: (907) 747-2814                       email: iudeentialaska.net                        Fax: (907) 747-2834




                                                                                August 13, 2001

         Robi Havens
         Land Law Examiner
         Bureau of Land Management
         Alaska State Office
         222 West 7, Ave. #13
         Anchorage, Alaska 99513-7599

         Dear Mrs. Havens:•

         Please consider this letter as the formal request by the Sitka Tribe of Alaska for assistance
         from your agency in gathering certain governmental records relating to federally submerged
         lands and waters in the area of Sitka, Alaska.

         Attached to this letter is a record of select Executive and Public Land Orders, portions of
         nautical charts, and excerpts from an environmental assessment concerning subsistence use
         of Halibut. These records demonstrate that the United States may still hold title to federally
         submerged lands and waters to perhaps as many as ten areas in and around Sitka. In
         particular; these records show that at least one area of land and water (Malchnati) was
         withdrawn and that the subsequent revocation was partial in nature and specifically revoked
         only the area of land and left the water area below mean high tide under federal title.

         Congress adopted the Alaska National Interest Lands Conservation Act (ANILCA) in 1980;
         a law that makes subsistence uses a priority on public lands in Alaska. ANILCA defines      -



         public lands as "lands, waters, and interests" to which the United States holds title. Thus,
         assuming that Makhnati and other areas of water in fact remain under federal title, the
         federal subsistence priority will protect subsistence uses in these areas. Federal studies, such
         as the environmental assessment performed by the Northern Pacific Fisheries Management
         Council, support this assumption.

         Sitka Tribe requests your immediate governmenmo-government assistance in gathering any
         and all records and documents that would either support, modify, or negate our assumption
         that these areas of water are held under federal title. The substance of this request is integral
         to the protection of subsistence uses for more than 3,000 tribal citizens and therefore of the
         utmost priority for the Sitka Tribal Council.
                                                                              ink you,

                                                                                         (),



                                                                                ael     Pate
                                                                           Attorney or Sitka Tribe

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                    DRAFT FOR PUBLIC REVIEW




     ENVIRONMENTAL ASSESSMENT/REGULATORY IMPACT REVIEW/

             INITIAL REGULATORY FLEXIBILITY ANALYSIS •

                                   FOR

                    A REGULATORY AMENDMENT.

                                   FOR •

        DEFINING A HALIBUT SUBSISTENCE FISHERY CATEGORY




                               Prepared by

                 •                   Staff
                 North Pacific Fishery Management Council
                   . Alaska Department of Fish and Game
                  International Pacific Halibut Commission
                     • National Marine Fisheries Service




                              August 11, 2000




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